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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF OKLAHOMA

JERARD DAVIS,

                        Plaintiff,

vs.                                              Case No. CIV-17-217-RAW-SPS

RAYMOND GLORIA, et al.,

                        Defendants.

                  REPORT OF REVIEW OF FACTUAL BASIS OF CLAIMS
                      ASSERTED IN CIVIL RIGHTS COMPLAINT
                       PURSUANT TO 42 U.S.C. SECTION 1983

          COMES NOW Darrell L. Moore Attorney for Defendants and hereby certifies as follows:
         I have received the attached Court Ordered Special Report;
         I have electronically filed the same with this Court; and,
         I have provided the Plaintiff a copy of such report as shown in my Certificate of Service,
          attached to the end of this document.



                                               Respectfully submitted,
                                               Defendants




                                               DARRELL L. MOORE, OBA #6332
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       COME NOW the officials in charge of the Davis Correctional Facility (“DCF”) and in

accordance with the Order issued by the Court on September 5, 2017 [Doc.# 19] directing the

preparation of a Special Report do submit herein a written report of review of the subject matter

of the Complaint filed by Plaintiff in the above styled action. A review was made of the above

styled case and the following was ascertained and determined:

                                     INITIAL STATEMENT

       Plaintiff, Jerard Davis, ODOC# 688165 appears pro se. Plaintiff Davis is an inmate in

the custody of the Oklahoma Department of Corrections. Plaintiff is currently housed at Davis

Correctional Facility, Holdenville, Oklahoma pursuant to a contract between CoreCivic,

(formerly CCA) and the Oklahoma Department of Corrections. Defendants Crowe, Quiroz and

Gloria are members of the security staff at Davis Correctional Facility. CoreCivic owns and

operates the Davis Correctional Facility. Defendants were at all times relevant to the Plaintiff’s

allegations employees of CCA at the Davis Correctional Facility.




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                           ALLEGATIONS MADE BY PLAINTIFF

Count: That Defendants violated the Plaintiff’s Eighth Amendment right when he was subjected

to a use of excessive force. Plaintiff asserts the incident was cruel and unusual punishment.

       Supporting facts: Plaintiff asserts that on December 29, 2016 excessive force was used

against him by the Shift Supervisor and five officers of a response extraction team. Plaintiff

asserts he received two lacerations to his right eye and one to his left eye. Plaintiff asserts when

he was finally restrained and decontaminated and treated by medical staff he was then placed on

the Fox Charlie housing unit and placed on property restriction until January 3, 2017. Plaintiff

asserts he was denied administrative remedies forms to file a grievance during this time.

                                        INVESTIGATION

       At all times relevant to this lawsuit, Plaintiff was housed by the Oklahoma Department of

Corrections at the Davis Correctional Facility in Holdenville, Oklahoma. For purposes of

completing this report, the undersigned spoke with appropriate staff members at Davis

Correctional Facility, to include Security Staff members and the facility Grievance Coordinator.

The undersigned has collected records from Davis Correctional Facility and from the Oklahoma

Department of Corrections.

The Facility Incident Report - 2016-1001-522-II.

       The Incident Report, attached hereto as Exhibit 1, indicates that on Thursday, December

29, 2016, at approximately 1240 hours, Case Manager Chad West was called to Fox Bravo cell

#212, the assigned cell for Davis, Jerard # 688165. Inmate Davis was holding the food port in

his cell door ‘hostage’, and was refusing to remove his arm from the food port so that the port

could be closed. Case Manager West gave Davis several loud verbal orders to remove his arm

from the food port. Davis refused to comply with all orders. While staff continued in their



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attempts to de-escalate the situation, Davis threw an unknown liquid substance on Case Manager

West and Correctional Officer Michael Thomas Jr. The liquid splashed onto their faces and

torsos. When inmate Davis began to throw the liquid a second time, Officer Thomas deployed a

controlled burst of OC spray from his MK 9#2 (9.5oz). See Exhibit 1, Incident Report - 2016-

1001-522-II.

       The officers were then able to close the food port door. The officers then called for a

response team. The Shift Supervisor and several security staff responded to the housing unit.

The Shift Supervisor attempted to engage inmate Davis in conversation in order to avoid further

confrontation. Inmate Davis was given verbal orders to submit to restraints. Inmate Davis

refused to comply with all orders given to him by the Shift Supervisor. Security Staff next

utilized a “Cell Buster” MK 9#24 which delivered 4.8oz of OC through the cell vent. This step

appeared to be completely ineffective and did not result in Davis’ compliance with the Shift

Supervisor’s orders. See Exhibit 1, Incident Report - 2016-1001-522-II.

       A cell extraction team was then assembled to join in the effort to gain compliance from

Davis. Inmate Davis was again ordered to submit to restraints and he again refused. The Shift

Supervisor then attempted to administer OC spray into Davis’ cell, however inmate Davis had

pushed a mattress up against the food port to prevent the spray from entering the cell. A food

port ram tool was obtained in order to push the mattress away from the food port enclosure.

Then, another attempt was made to deploy OC spray into the cell through the food port. Inmate

Davis continued to refuse orders to submit to restraints. Two more attempts were made to get OC

spray into the cell and past the mattress inmate Davis was continuing to use to block the food

port. Because inmate Davis continued to use the mattress as a block and continued to refuse all

orders given to him by the security staff, the cell door was then opened and 2.8 oz of OC spray



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was deployed through the open door and the security officer extraction team entered the cell. As

the team entered the cell, Davis rushed forward at the team and used force to resist their attempt

to gain his compliance. Inmate Davis continued to resist efforts of the extraction team to gain his

compliance and physical force had to be utilized to gain compliance from Mr. Davis. See

Exhibit 1, Incident Report - 2016-1001-522-II.

       Once compliance was gained, Mr. Davis was seen by medical staff. The medical staff

note indicates Mr. Davis was belligerent and disruptive and that he refused further medical care

and treatment. Inmate Davis sustained two small lacerations above his right eyebrow, one small

laceration above his left eyebrow, as well as a bloody nose. See Exhibit 1, Incident Report -

2016-1001-522-II. Correctional Officer Thomas and Case Manager West received a medical

evaluation. It was determined that they would need to go to Holdenville General Hospital for

outside medical treatment from the unknown liquid substance having been thrown on them by

inmate Davis. See Exhibit 1, Incident Report - 2016-1001-522-II.

       Inmate Davis was issued a Class "X" disciplinary misconduct for resisting apprehension

X-23 and a Class "X" disciplinary misconduct for Assault X-13. See Exhibit 1, Incident Report -

2016-1001-522-II.

       Inmate Davis asserts in his Complaint that he was denied medical treatment related to the

incident and for swollen feet. The Incident Report and medical records show that inmate Davis

refused medical treatment following the incident and refused treatment for his complaint of

swollen feet. See medical records attached hereto as Exhibit 2.

                          USE OF ADMINISTRATIVE REMEDIES

       An administrative remedies grievance policy is available for inmate use at Davis

Correctional Facility. As set forth above, Davis Correctional Facility is a private prison



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contracted with the Oklahoma Department of Corrections for the housing of DOC inmates. The

Oklahoma DOC administrative remedies grievance policy - OP-090124, is used at Davis

Correctional Facility. The Oklahoma DOC administrative remedies policy sets out the steps an

inmate must follow in order to exhaust administrative remedies as to any claims. See DOC OP-

090124, attached hereto as Exhibit 3.

       The Oklahoma DOC administrative remedies policy, Op-090124, requires an inmate to

initially attempt to resolve any issue through informal resolution. Then, if the inmate remains

not satisfied, he must file a formal grievance. The final step in the administrative remedies

process directs an inmate to make a final appeal of his concerns to the Oklahoma DOC

Administrative Review Authority at the Oklahoma DOC Headquarters. See Exhibit 3, Pages 9-

12.

Inmate Davis’ use of the Grievance process:

       Inmate Davis did not file any grievances related to this matter he has now brought

forward to the Court.

       OP-090124 indicates that a Request to Staff must be filed within 7 days of an incident.

See Exhibit 3, 090124(IV)(C)(3). In his Complaint, Davis asserts he was on property restriction

between December 29, 2016 and January 3, 2017 and during that time was denied the

appropriate forms. Even if Davis’ assertion was true he would have had two days after coming

off of property restriction during which he could have filed a Request to Staff. And, according to

Terry Underwood, the Grievance Coordinator at Davis Correctional Facility, all of the

appropriate administrative remedies forms were available on the housing unit during the

December 29-January 3 time period. Ms. Underwood has reviewed the facility’s grievance

records for that time period and has stated she received grievances from other inmates housed on



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                                      Certificate of Service

 I hereby certify that on November 3, 2017, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for filing. Based on the records
currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the following
ECF registrants:


 I hereby certify that on November 3, 2017, I served the attached document by regular US
Mail on the following, who are not registered participants of the ECF System:


Jerard Davis, ODOC 688165
Davis Correctional Facility
6888 E 133rd Rd
Holdenville, OK 74848




                                              DARRELL L. MOORE




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